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                        IN THE UNITED STATES DISTRICT COURT
                          OF THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

  ANTOR MEDIA CORPORATION                     §
                                              §
  V.                                          §              No. 5:07CV168
                                              §
  AEBN, INC., ET AL.                          §

                                       FINAL JUDGMENT

         This action came on before the Court, Honorable Leonard Davis, Chief Judge, presiding, and

  the issues having been duly considered and a decision having been duly rendered, it is hereby

         ORDERED that Plaintiff’s above-entitled and numbered cause of action is DISMISSED.

         All motions by either party not previously ruled on are hereby DENIED.

         So ORDERED and SIGNED this 28th day of January, 2014.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
